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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MFQ~   f) lWOTOF ALABAMA
                                 NORTHERN DIVISION
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UNITED STATES OF AMERICA                       )
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                                                                  [18 U.S.C. § 1349;
                                               )                  18 U.S.C. § 1708]
KEITH RASHARD THOMAS                           )
                                                )
                                                )     INDICTMENT

The Grand Jury charges:

                                           COUNTl
                          (Conspiracy to Commit Mail and Bank Fraud)

       1.      From on or about May 4, 2023 , through on or about June 25 , 2024, in Montgomery

County, Alabama, within the Middle District of Alabama, and elsewhere, the defendant,

                                  KEITH RASHARD THOMAS,

and others, knowingly and willfully conspired, confederated, and agreed with each other to commit

the following offenses: mail fraud and bank fraud, in violation of Title 18, United States Code,

Sections 1341 and 1344. The conspiracy is described as follows :

       2.      They devised and intended to devise a scheme and artifice to defraud another by

means of false and fraudulent pretenses and for obtaining money by means of false and fraudulent

pretenses, representations, and promises, and for the purpose of executing the scheme and artifice

and attempting to do so, took and embezzled any matter or thing contained in the United States

mail, in violation of Title 18, United States Code, Section 1341.

       3.      They knowingly executed and attempted to execute a scheme or artifice to defraud

a financial institution, in violation of Title 18, United States Code, Section 1344.
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                                     MANNER AND MEANS

       4.        This scheme begins with the theft of checks placed in the United States mail. The

stolen checks would be fraudulently deposited into different accounts. Members of the conspiracy

would attempt to obtain the fraudulent funds before the victims discovered the theft.

       5.        It was part of the conspiracy that KEITH RASHARD THOMAS was in possession

of checks stolen from the possession of the United States Postal Service and other individuals'

debit cards on or about June 25 , 2024.

       6.        It was part of the conspiracy that KEITH RA SHARD THOMAS was in possession

of images of numerous checks and debit or credit cards on June 25 , 2024.

       7.        It was part of the conspiracy that KEITH RASHARD THOMAS was in possession

of images of several identifying documents on June 25, 2024.

       8.        It was part of the conspiracy that KEITH RASHARD THOMAS communicated

with co-conspirators regarding bank fraud including by electronic device.

       All in violation of Title 18, United States Code, Section 1349.

                                          COUNTS 2-20
                                    (Possession of Stolen Mail)

       On or about June 25, 2024, in Montgomery County, within the Middle District of Alabama,

the defendant,

                                  KEITH RASHARD THOMAS,

unlawfully possessed mail matter as listed below,

   Count    Mail Matter              Account Holder                         Bank
       2    Check #5886              City of Montgomery                     Trustmark
       3    Check #5887              City of Montgomery                     Trustmark
       4    Check #5888              City of Montgomery                     Trustmark
       5    Check #5889              City of Montgomery                     Trustmark
       6    Check #5890              City of Montgomery                     Trustmark


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       7   Check #5891             City of Montgomery                      Trustmark
       8   Check #1083             Alabama Law Enforcement Agency          Trustmark
       9   Check #105231           CSS, Inc.                               Synovus
      10   Check #5190             CHF andNJF                              ASE Credit Union
      11   Check #5191             CHF andNJF                              ASE Credit Union
      12   Check #5192             CHF and NJF                             ASE Credit Union
      13   Check #5195             CHF andNJF                              ASE Credit Union
      14   Check #5197             CHF andNJF                              ASE Credit Union
      15   Check #5198             CHF andNJF                              ASE Credit Union
      16   Check #757              JER                                     Truist
      17   Check #3012             SL and VLL                              Wells Fargo
      18   Check #3743             VLL                                     Max Credit Union
      19   Check #9081             MBCandAMC                               Max Credit Union
      20   Check #9082             MBCandAMC                               Max Credit Union

which had been stolen, taken, embezzled and abstracted from a mail receptacle which was an

authorized depository for mail matter, knowing the said mail matter to have been stolen, taken,

embezzled and abstracted from an authorized depository for mail matter. All in violation of Title

18, United States Code, Section 1708.




Assistant United States Attorney




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